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                                   UNITED STATES DISTRICT
                                 COURT DISTRICT OF COLORADO

                                               CASE NO.:

JOHN MEGGS,

             Plaintiff,
v.

WELCH 3 INVESTMENTS LLC and
WELCH 3 HOLDINGS INC,

        Defendants.
____________________________________/

                                             COMPLAINT

        Plaintiff, JOHN MEGGS, individually and on behalf of all other similarly situated

mobility-impaired individuals (hereinafter “Plaintiff”), sues, WELCH 3 INVESTMENTS LLC

and WELCH 3 HOLDINGS INC (hereinafter “Defendants”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

        1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the "Americans with

Disabilities Act" or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

        2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

§ 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

        3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

U.S.C. § 12181, et seq.

        4.           Plaintiff, JOHN MEGGS, is an individual over eighteen years of age, who splits

his time between Los Angeles County, California and Denver County, Colorado, and is otherwise

sui juris.
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        5.       At all times material, Defendant, WELCH 3 INVESTMENTS LLC, was a

Colorado Limited Liability Company organized under the laws of the state of Colorado with its

principal place of business in Arvada, Colorado.

        6.       At all times material, Defendant, WELCH 3 INVESTMENTS LLC, owned and

operated a place of public accommodation located at 6950 N Broadway Street, Denver, Colorado

80216 1 (hereinafter the “Commercial Property”).

        7.       At all times material, Defendant, WELCH 3 HOLDINGS INC, was a Colorado

Profit Corporation incorporated under the laws of the state of Colorado with its principal place of

business in Arvada, Colorado.

        8.       At all times material, Defendant, WELCH 3 HOLDINGS INC, owned and

operated a commercial restaurant business at 6950 N Broadway Street, Denver, Colorado 80216

(hereinafter the “Commercial Property”). The Commercial Property holds itself out to the public

as “Mickey’s Top Sirloin.”

        9.       Venue is properly located in the District of Colorado because Defendants’

Commercial Property is located in Denver, Colorado, Defendants regularly conduct business

within Denver, Colorado, and because a substantial part(s) of the events or omissions giving rise

to these claims occurred in Denver, Colorado.

                                    FACTUAL ALLEGATIONS

        10.      Although over twenty-eight (28) years have passed since the effective date of Title

III of the ADA, Defendants have yet to make their facilities accessible to individuals with

disabilities.

        11.      Congress provided commercial businesses one and a half years to implement the


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  The address for the Defendant, WELCH 3 INVESTMENTS LLC’s, restaurant and place of public accommodation
is also listed as 6950 Broadway Street, Denver, Colorado.

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Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

extensive publicity the ADA has received since 1990, Defendants continue to discriminate against

people who are disabled in ways that block them from access and use of Defendants’ Commercial

Property and the business therein.

       12.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

requires landlords and tenants to be liable for compliance.

       13.       Plaintiff, JOHN MEGGS, is an individual with disabilities as defined by and

pursuant to the ADA. Plaintiff, JOHN MEGGS, is, among other things, a paraplegic and is

therefore substantially limited in major life activities due to his impairment, including, but not

limited to, not being able to walk or stand. Plaintiff requires the use of a wheelchair to ambulate.

       14.       Defendant, WELCH 3 INVESTMENTS LLC, owns, operates and oversees the

Commercial Property, its general parking lot and parking spots specific to the business therein,

and it owns, operates and oversees said Commercial Property located in Denver, Colorado, that is

the subject of this Action.

       15.       The subject Commercial Property is open to the public and is located in Denver,

Colorado. The individual Plaintiff visits the Commercial Property regularly, to include a visit to

the property on or about May 20, 2021 and encountered multiple violations of the ADA that

directly affected his ability to use and enjoy the property. He plans to return to and often visits

the Commercial Property and the other business located within the Commercial Property, in order

to avail himself of the goods and services offered to the public at the business therein, if the

property/business become accessible.

       16.       Plaintiff visited the Commercial Property as a patron/customer, regularly visits

the Commercial Property and business within the Commercial Property as a patron/customer, and



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intends to return to the Commercial Property and business therein in order to avail himself of the

goods and services offered to the public at the property. Plaintiff spends much of his time in and

near Denver County, Colorado, in the same state as the Commercial Property, has regularly

frequented the Defendants’ Commercial Property and business located within the Commercial

Property for the intended purposes, and intends to return to the property within four (4) months’

time of the filing of this Complaint.

       17.       The Plaintiff found the Commercial Property to be rife with ADA violations.

The Plaintiff encountered architectural barriers at the Commercial Property and wishes to continue

his patronage and use of the premises.

       18.       The Plaintiff, JOHN MEGGS, has encountered architectural barriers that are in

violation of the ADA at the subject Commercial Property and business therein. The barriers to

access at Defendants’ Commercial Property and business within the Commercial Property have

each denied or diminished Plaintiff’s ability to visit the Commercial Property and endangered his

safety. The barriers to access, which are set forth below, have likewise posed a risk of injury(ies),

embarrassment, and discomfort to Plaintiff, JOHN MEGGS, and others similarly situated.

       19.       Defendants, WELCH 3 INVESTMENTS LLC and WELCH 3 HOLDINGS INC,

own/or and operates, a place of public accommodation as defined by the ADA and the regulations

implementing the ADA, 28 CFR 36.201 (a) and 36.104.                Defendants are responsible for

complying with the obligations of the ADA. The place of public accommodation that Defendants,

WELCH 3 INVESTMENTS LLC and WELCH 3 HOLDINGS INC, own and operate is the

Commercial Property business located at 6950 N Broadway Street, Denver, Colorado 80216.

       20.       Plaintiff, JOHN MEGGS, has a realistic, credible, existing and continuing threat

of discrimination from the Defendants’ non-compliance with the ADA with respect to the



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described Commercial Property and the restaurants and business therein, but not necessarily

limited to the allegations in Counts I and II of this Complaint. Plaintiff has reasonable grounds

to believe that he will continue to be subjected to discrimination at the Commercial Property and

the business located within the Commercial Property, in violation of the ADA. Plaintiff desires to

visit the Commercial Property and business located within the Commercial Property, not only to

avail himself of the goods and services available at this Commercial Property and business therein,

but to assure himself that the property and business therein are in compliance with the ADA, so

that he and others similarly situated will have full and equal enjoyment of the property and business

therein without fear of discrimination.

                              COUNT I – ADA VIOLATIONS
                           AS TO WELCH 3 INVESTMENTS LLC

       21.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

through 20 above as though fully set forth herein.

       22.       Defendant, WELCH 3 INVESTMENTS LLC, has discriminated against the

individual Plaintiff by denying him access to, and full and equal enjoyment of, the goods, services,

facilities, privileges, advantages and/or accommodations of the Commercial Property and other

business located within the Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

       23.       Defendant has discriminated, and continue to discriminate, against Plaintiff in

violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

January 26, 1993, if a Defendants have ten (10) or fewer employees and gross receipts of $500,000

or less). A list of the violations that Plaintiff encountered during his visit to the Defendants’

Commercial Property and restaurant business within the Commercial Property, include, but are

not limited to, the following:

   A. Parking


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 i.   Accessible parking signage is missing and markings are improper. Spaces and access aisles

      located are not on a compliant route to access Mickey’s Top Sirloin violating ADAAG Section

      4.6 and 2010 ADAS Section 502, the solution is readily achievable.

      B. Entrance Access and Path of Travel

 i.   Cross slopes > 2%, changes of level and improper ramps impede Mr. Meggs’ path of travel to

      enter and travel between store interior areas to and from parking, sidewalks and public transit

      violating the ADAAG and 2010 ADAS Sections 303, 304, 403 and 404 where the solutions

      are readily achievable.

ii.   Ramps to enter Mickey’s Top Sirloin has excessive slopes and lacks proper handrails

      endangering Mr. Meggs and violating Section 405 of the 2010 ADAS.

                          COUNT II – ADA VIOLATIONS AS TO
                WELCH 3 INVESTMENTS LLC AND WELCH 3 HOLDINGS INC

          24.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 20 above as though fully set forth herein.

          25.      Defendants, WELCH 3 INVESTMENTS LLC and WELCH 3 HOLDINGS INC,

   have discriminated against the individual Plaintiff by denying him access to, and full and equal

   enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations of the

   Commercial Property and other business located within the Commercial Property, as prohibited

   by 42 U.S.C. § 12182 et seq.

          26.      Defendants have discriminated, and continue to discriminate, against Plaintiff in

   violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

   January 26, 1993, if a Defendants have ten (10) or fewer employees and gross receipts of $500,000

   or less). A list of the violations that Plaintiff encountered during his visit to the Defendants’

   Commercial Property and restaurant business within the Commercial Property, include, but are


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      not limited to, the following:

         A. Access to Goods and Services

  i.     Mickey’s Top Sirloin lacks reasonable accommodations in policies, practices and procedures

         to provide full and equal enjoyment of disabled individuals and does not maintain the elements

         required to be accessible and usable by persons with disabilities violating Section 36.211 of

         the ADAAG and the 2010 ADA Standards.

ii.      Bar, self-service and dining surfaces at Mickey’s Top Sirloin are inaccessible to the plaintiff

         and violate various ADAAG and 2010 ADAS requirements.

         B. Public Restrooms

  i.     The restroom stall door is not self-closing and lacks proper hardware on both sides preventing

         Mr. Meggs’ use in violation of the ADAAG and 2010 ADAS.

ii.      Mr. Meggs could not use the soap, paper towels, toilet paper and mirror which are inaccessible

         violating the ADAAG and 2010 ADAS Sections 308, 309, 603, 604 and 606.

iii.     Mr. Meggs could not exit the restroom to dining areas without assistance as the maneuvering

         space is inadequate violating 2010 ADAS Section 404. The door to the bar which has an

         excessive change of level at the threshold.

iv.      There is no ambulatory stall where one is required by 2010 ADAS Section 604.

             27.       The discriminatory violations described in Paragraph 23 are not an exclusive list

      of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ place of

      public accommodation in order to photograph and measure all of the discriminatory acts violating

      the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

      requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

      presence, which prevented Plaintiff, JOHN MEGGS, from further ingress, use, and equal



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enjoyment of the Commercial Property and the business therein; Plaintiff requests to be physically

present at such inspection in conjunction with Rule 34 and timely notice.

       28.       The individual Plaintiff, and all other individuals similarly situated, have been

denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

privileges, benefits, programs and activities offered by Defendants’ Commercial Property and the

business within the Commercial Property; and has otherwise been discriminated against and

damaged by the Defendants because of the Defendants’ ADA violations as set forth above. The

individual Plaintiff, and all others similarly situated, will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. In order

to remedy this discriminatory situation, the Plaintiff requires an inspection of the Defendants’

places of public accommodation in order to determine all of the areas of non-compliance with the

Americans with Disabilities Act.

       29.       Defendants have discriminated against the individual Plaintiff by denying him

access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of their places of public accommodation or commercial facility, in violation of

42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to afford

all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

with a disability is excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services.

       30.       Plaintiff is without adequate remedy at law, will suffer irreparable harm, and have



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a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

U.S.C. § 12205 and 28 CFR 36.505.

       31.        While Defendant, WELCH 3 INVESTMENTS LLC, as landlord and owner of

the Commercial Property Business, is primarily responsible for all ADA violations listed in this

Complaint, tenants and landlords can be held is jointly and severally liable for ADA violations.

       32.        A Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for their place of public similarly

situated, will continue to suffer such discrimination, injury and damage without the immediate

relief provided by the ADA as requested herein. In order to remedy this discriminatory situation,

the Plaintiff require an inspection of the Defendants’ place of public accommodation in order to

determine all of the areas of non-compliance with the Americans with Disabilities Act.

       33.        Notice to Defendant is not required as a result of the Defendants’ failure to cure

the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

employees and gross receipts of $500,000 or less). All other conditions precedent have been met

by Plaintiff or waived by the Defendant.

       34.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

businesses, located within the Commercial Property located in Denver, Colorado, the interiors,

exterior areas, and the common exterior areas of the Commercial Property and restaurant business

to make those facilities readily accessible and useable to the Plaintiff and all other mobility-

impaired persons; or by closing the facility until such time as the Defendant cures its violations of



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the ADA.

       WHEREFORE, the Plaintiff, JOHN MEGGS, respectfully requests that this Honorable

Court issue (i) a Declaratory Judgment determining Defendants, at the commencement of the

subject lawsuit, were and are in violation of Title III of the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants, including an order to make all

readily achievable alterations to the facilities; or to make such facilities readily accessible to and

usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

to make reasonable modifications in policies, practices or procedures, when such modifications

are necessary to afford all offered goods, services, facilities, privileges, advantages or

accommodations to individuals with disabilities; and by failing to take such steps that may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated or

otherwise treated differently than other individuals because of the absence of auxiliary aids and

services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans with Disabilities Act.

Dated: July 27, 2021
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